     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 1 of 15



      WRIGHT, FINLAY & ZAK, LLP
 1
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 4
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 5    Attorney for Defendant Selene Finance LP

 6                                 UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA

 8    TOBIN E. FUSS and ANGELA FUSS,                     Case No.: 3:19-cv-00282-MMD-CBC
 9                   Plaintiffs,
10                                                       ANSWER TO COMPLAINT
             vs.
11
      SELENE FINANCE LP, a foreign limited
12    partnership and Does I through X, inclusive,
13
                     Defendants.
14
15           Defendant Selene Finance LP (hereafter “Defendant”), by and through its attorney of
16    record, hereby files the following Answer to Plaintiffs Tobin E. Fuss and Angela Fuss’
17    (hereafter the “Plaintiffs”) Complaint for Damages, as follows:
18                                 PARTIES, JURISDICTION, AND VENUE

19           1.      Defendant admits the allegations in paragraph 1 of the Complaint.
             2.      Defendant admits the allegations in paragraph 2 of the Complaint.
20
             3.      Defendant admits the allegations in paragraph 3 of the Complaint.
21
             4.      Defendant does not possess enough information to admit or deny the allegation
22
      in paragraph 4 of the Complaint and thus denies said allegations.
23
             5.      Defendant does not possess enough information to admit or deny the allegation
24
      in paragraph 5 of the Complaint and thus denies said allegations.
25                                        GENERAL ALLEGATIONS
26           6.      Defendant admits the allegations in paragraph 6 of the Complaint.
27           7.      Defendant does not possess enough information to admit or deny the allegation
28    in paragraph 7 of the Complaint and thus denies said allegations.



                                                 Page 1 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 2 of 15



             8.      Defendant does not possess enough information to admit or deny the allegation
 1
      in paragraph 8 of the Complaint and thus denies said allegations.
 2
             9.      Defendant does not possess enough information to admit or deny the allegation
 3
      in paragraph 9 of the Complaint and thus denies said allegations.
 4
             10.     Defendant does not possess enough information to admit or deny the allegation
 5    in paragraph 10 of the Complaint and thus denies said allegations.
 6           11.     Defendant does not possess enough information to admit or deny the allegation
 7    in paragraph 11 of the Complaint and thus denies said allegations.
 8           12.     Defendant does not possess enough information to admit or deny the allegation
 9    in paragraph 12 of the Complaint and thus denies said allegations.

10           13.     Defendant does not possess enough information to admit or deny the allegation
      in paragraph 13 of the Complaint and thus denies said allegations.
11
             14.     Defendant does not possess enough information to admit or deny the allegation
12
      in paragraph 14 of the Complaint and thus denies said allegations.
13
             15.     Defendant does not possess enough information to admit or deny the allegation
14
      in paragraph 15 of the Complaint and thus denies said allegations.
15           16.     Defendant does not possess enough information to admit or deny the allegation
16    in paragraph 16 of the Complaint and thus denies said allegations.
17           17.     Defendant does not possess enough information to admit or deny the allegation
18    in paragraph 17 of the Complaint and thus denies said allegations.
19           18.     Defendant does not possess enough information to admit or deny the allegation

20    in paragraph 18 of the Complaint and thus denies said allegations.
             19.     Defendant does not possess enough information to admit or deny the allegation
21
      in paragraph 19 of the Complaint and thus denies said allegations.
22
             20.     Defendant does not possess enough information to admit or deny the allegation
23
      in paragraph 20 of the Complaint and thus denies said allegations.
24
             21.     Defendant admits the allegations in paragraph 21 of the Complaint.
25           22.     Defendant does not possess enough information to admit or deny the allegation
26    in paragraph 22 of the Complaint and thus denies said allegations.
27           23.     Defendant does not possess enough information to admit or deny the allegation
28    in paragraph 23 of the Complaint and thus denies said allegations.



                                                 Page 2 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 3 of 15



             24.     Defendant does not possess enough information to admit or deny the allegation
 1
      in paragraph 24 of the Complaint and thus denies said allegations.
 2
             25.     Defendant does not possess enough information to admit or deny the allegation
 3
      in paragraph 25 of the Complaint and thus denies said allegations.
 4
             26.     Defendant does not possess enough information to admit or deny the allegation
 5    in paragraph 26 of the Complaint and thus denies said allegations.
 6           27.     Responding to paragraph 27, Defendant denies a billing error. Regarding the
 7    remaining allegations in paragraph 27. Defendant does not possess enough information to admit
 8    or deny the allegation in paragraph 27 of the Complaint and thus denies said allegations.
 9           28.     Defendant does not possess enough information to admit or deny the allegation

10    in paragraph 28 of the Complaint and thus denies said allegations.
             29.     Defendant denies the allegations in paragraph 29 of the Complaint.
11
             30.     Defendant does not possess enough information to admit or deny the allegation
12
      in paragraph 30 of the Complaint and thus denies said allegations.
13
             31.     Defendant does not possess enough information to admit or deny the allegation
14
      in paragraph 31 of the Complaint and thus denies said allegations.
15           32.     Defendant denies the allegations in paragraph 32 of the Complaint.
16           33.     Defendant does not possess enough information to admit or deny the allegation
17    in paragraph 33 of the Complaint and thus denies said allegations.
18           34.     Defendant denies the allegations in paragraph 34 of the Complaint.
19           35.     Defendant does not possess enough information to admit or deny the allegation

20    in paragraph 35 of the Complaint and thus denies said allegations.
                                       FIRST CLAIM FOR RELIEF
21
                                              Breach of Contract
22
             36.     Answering paragraph 36 of the Complaint, Defendant hereby repeats, realleges
23
      and incorporates each of its admissions, denials, or other responses to all the paragraphs
24
      referenced hereinabove as if set forth at length and in full.
25           37.     Defendant does not possess enough information to admit or deny the allegation
26    in paragraph 37 of the Complaint and thus denies said allegations.
27           38.     Defendant does not possess enough information to admit or deny the allegation
28    in paragraph 38 of the Complaint and thus denies said allegations.



                                                   Page 3 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 4 of 15



             39.    Defendant does not possess enough information to admit or deny the allegation
 1
      in paragraph 39 of the Complaint and thus denies said allegations.
 2
             40.    Defendant does not possess enough information to admit or deny the allegation
 3
      in paragraph 40 of the Complaint and thus denies said allegations.
 4
             41.    Defendant does not possess enough information to admit or deny the allegation
 5    in paragraph 41 of the Complaint and thus denies said allegations.
 6           42.    Defendant does not possess enough information to admit or deny the allegation
 7    in paragraph 42 of the Complaint and thus denies said allegations.
 8           43.    Defendant does not possess enough information to admit or deny the allegation
 9    in paragraph 43 of the Complaint and thus denies said allegations.

10           44.    Defendant does not possess enough information to admit or deny the allegation
      in paragraph 44 of the Complaint and thus denies said allegations.
11
             45.    Defendant does not possess enough information to admit or deny the allegation
12
      in paragraph 45 of the Complaint and thus denies said allegations.
13
             46.    Defendant admits the allegations in paragraph 46 of the Complaint.
14
             47.    Defendant denies the allegations in paragraph 47 of the Complaint.
15           48.    Defendant does not possess enough information to admit or deny the allegation
16    in paragraph 48 of the Complaint and thus denies said allegations.
17           49.    Defendant denies the allegations in paragraph 49 of the Complaint.
18           50.    Defendant does not possess enough information to admit or deny the allegation
19    in paragraph 50 of the Complaint and thus denies said allegations.

20           51.    Defendant denies the allegations in paragraph 51 of the Complaint.
             52.    Defendant does not possess enough information to admit or deny the allegation
21
      in paragraph 52 of the Complaint and thus denies said allegations.
22
             53.    Defendant does not possess enough information to admit or deny the allegation
23
      in paragraph 53 of the Complaint and thus denies said allegations.
24
             54.    Defendant denies the allegations in paragraph 54 of the Complaint.
25    ///
26    ///
27    ///
28    ///



                                                Page 4 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 5 of 15



                                      SECOND CLAIM FOR RELIEF
 1
                         Breach of the Covenant of Good Faith and Fair Dealing
 2
             55.     Answering paragraph 55 of the Complaint, Defendant hereby repeats, realleges
 3
      and incorporates each of its admissions, denials, or other responses to all the paragraphs
 4
      referenced hereinabove as if set forth at length and in full.
 5           56.     Defendant does not possess enough information to admit or deny the allegation
 6    in paragraph 56 of the Complaint and thus denies said allegations.
 7           57.     Defendant does not possess enough information to admit or deny the allegation
 8    in paragraph 57 of the Complaint and thus denies said allegations.
 9           58.     Defendant does not possess enough information to admit or deny the allegation

10    in paragraph 58 of the Complaint and thus denies said allegations.
             59.     Defendant denies the allegations in paragraph 59 of the Complaint.
11
             60.     Defendant denies the allegations in paragraph 60 of the Complaint.
12
                                       THIRD CLAIM FOR RELIEF
13
                    Tortious Breach of the Covenant of Good Faith and Fair Dealing
14
             61.     Answering paragraph 61 of the Complaint, Defendant hereby repeats, realleges
15    and incorporates each of its admissions, denials, or other responses to all the paragraphs
16    referenced hereinabove as if set forth at length and in full.
17           62.     Defendant denies the allegations in paragraph 62 of the Complaint.
18           63.     Defendant denies the allegations in paragraph 63 of the Complaint.
19           64.     Defendant denies the allegations in paragraph 64 of the Complaint.

20           65.     Defendant denies the allegations in paragraph 65 of the Complaint.
             66.     Defendant denies the allegations in paragraph 66 of the Complaint.
21
             67.     Defendant denies the allegations in paragraph 67 of the Complaint.
22
                                         FOURTH CLAIM FOR RELIEF
23
                                Unfair and Deceptive Practices (Consumer Fraud)
24
             68.     Answering paragraph 68 of the Complaint, Defendant hereby repeats, realleges
25    and incorporates each of its admissions, denials, or other responses to all the paragraphs
26    referenced hereinabove as if set forth at length and in full.
27           69.     Paragraph 69 does not require an admission or denial.
28           70.     Paragraph 70 does not require an admission or denial.



                                                   Page 5 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 6 of 15



             71.     Paragraph 71 does not require an admission or denial.
 1
             72.     Paragraph 72 does not require an admission or denial.
 2
             73.     Defendant denies the allegations in paragraph 73 of the Complaint.
 3
             74.     Defendant denies the allegations in paragraph 74 of the Complaint.
 4
             75.     Paragraph 75 does not require an admission or denial.
 5           76.     Defendant denies the allegations in paragraph 76 of the Complaint.
 6           77.     Defendant denies the allegations in paragraph 77 of the Complaint.
 7                                     FIFTH CLAIM FOR RELIEF
 8                                   Attorney Fees as Special Damages
 9           78.     Answering paragraph 78 of the Complaint, Defendant hereby repeats, realleges

10    and incorporates each of its admissions, denials, or other responses to all the paragraphs
      referenced hereinabove as if set forth at length and in full.
11
             79.     Defendant denies the allegations in paragraph 79 (erroneously named paragraph
12
      74) of the Complaint.
13
             80.     Defendant denies the allegations in paragraph 80 (erroneously named paragraph
14
      75) of the Complaint.
15           81.     Defendant denies the allegations in paragraph 81 (erroneously named paragraph
16    76) of the Complaint.
17           82.     Defendant denies the allegations in paragraph 82 (erroneously named paragraph
18    77) of the Complaint.
19                                     SIXTH CLAIM FOR RELIEF

20                                 Real Estate Settlement Procedures Act
             83.     Answering paragraph 83 (erroneously named paragraph 78) of the Complaint,
21
      Defendant hereby repeats, realleges and incorporates each of its admissions, denials, or other
22
      responses to all the paragraphs referenced hereinabove as if set forth at length and in full.
23
             84.     Defendant does not possess enough information to admit or deny the allegation
24
      in paragraph 84 (erroneously named paragraph 79) of the Complaint and thus denies said
25    allegations.
26           85.     Defendant does not possess enough information to admit or deny the allegation
27    in paragraph 85 (erroneously named paragraph 80) of the Complaint and thus denies said
28    allegations.



                                                   Page 6 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 7 of 15



             86.     Defendant does not possess enough information to admit or deny the allegation
 1
      in paragraph 86 (erroneously named paragraph 81) of the Complaint and thus denies said
 2
      allegations.
 3
             87.     Defendant does not possess enough information to admit or deny the allegation
 4
      in paragraph 87 (erroneously named paragraph 82) of the Complaint and thus denies said
 5    allegations.
 6           88.     Defendant does not possess enough information to admit or deny the allegation
 7    in paragraph 88 (erroneously named paragraph 83) of the Complaint and thus denies said
 8    allegations.
 9           89.     Defendant does not possess enough information to admit or deny the allegation

10    in paragraph 89 (erroneously named paragraph 84) of the Complaint and thus denies said
      allegations.
11
             90.     Defendant does not possess enough information to admit or deny the allegation
12
      in paragraph 90 (erroneously named paragraph 85) of the Complaint and thus denies said
13
      allegations.
14
             91.     Defendant does not possess enough information to admit or deny the allegation
15    in paragraph 91 (erroneously named paragraph 86) of the Complaint and thus denies said
16    allegations.
17           92.     Defendant does not possess enough information to admit or deny the allegation
18    in paragraph 92 (erroneously named paragraph 87) of the Complaint and thus denies said
19    allegations.

20           93.     Defendant does not possess enough information to admit or deny the allegation
      in paragraph 93 (erroneously named paragraph 88) of the Complaint and thus denies said
21
      allegations.
22
             94.     Defendant does not possess enough information to admit or deny the allegation
23
      in paragraph 94 (erroneously named paragraph 89) of the Complaint and thus denies said
24
      allegations.
25    ///
26    ///
27    ///
28    ///



                                               Page 7 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 8 of 15



                     ATTEMPTS TO OBTAIN INFORMATION AND HAVE SELENE
 1
                                          CORRECT ERRORS
 2
             95.      Defendant does not possess enough information to admit or deny the allegation
 3
      in paragraph 95 (erroneously named paragraph 90) of the Complaint and thus denies said
 4
      allegations.
 5           96.      Defendant does not possess enough information to admit or deny the allegation
 6    in paragraph 96 (erroneously named paragraph 91) of the Complaint and thus denies said
 7    allegations.
 8           97.      Defendant does not possess enough information to admit or deny the allegation
 9    in paragraph 97 (erroneously named paragraph 92) of the Complaint and thus denies said

10    allegations.
             98.      Defendant does not possess enough information to admit or deny the allegation
11
      in paragraph 98 (erroneously named paragraph 93) of the Complaint and thus denies said
12
      allegations.
13
             99.      Defendant denies the allegations in paragraph 99 (erroneously named as
14
      paragraph 94). .
15           100.     Defendant does not possess enough information to admit or deny the allegation
16    in paragraph 100 (erroneously named paragraph 95) of the Complaint and thus denies said
17    allegations.
18           101.     Defendant does not possess enough information to admit or deny the allegation
19    in paragraph 101 (erroneously named paragraph 96) of the Complaint and thus denies said

20    allegations.
             102.     Defendant does not possess enough information to admit or deny the allegation
21
      in paragraph 102 (erroneously named paragraph 97) of the Complaint and thus denies said
22
      allegations.
23
             103.     Defendant denies the allegations in paragraph 103 (erroneously named paragraph
24
      98).
25           104.     Defendant does not possess enough information to admit or deny the allegation
26    in paragraph 104 (erroneously named paragraph 99) of the Complaint and thus denies said
27    allegations.
28



                                                 Page 8 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 9 of 15



             105.    Defendant does not possess enough information to admit or deny the allegation
 1
      in paragraph 105 (erroneously named paragraph 100) of the Complaint and thus denies said
 2
      allegations.
 3
             106.    Defendant does not possess enough information to admit or deny the allegation
 4
      in paragraph 106 (erroneously named paragraph 101) of the Complaint and thus denies said
 5    allegations.
 6           107.    Defendant does not possess enough information to admit or deny the allegation
 7    in paragraph 107 (erroneously named paragraph 102) of the Complaint and thus denies said
 8    allegations.
 9           108.    Defendant does not possess enough information to admit or deny the allegation

10    in paragraph 108 (erroneously named paragraph 103) of the Complaint and thus denies said
      allegations.
11
             109.    Defendant does not possess enough information to admit or deny the allegation
12
      in paragraph 109 (erroneously named paragraph 104) of the Complaint and thus denies said
13
      allegations.
14
             110.    Defendant does not possess enough information to admit or deny the allegation
15    in paragraph 110 (erroneously named paragraph 105) of the Complaint and thus denies said
16    allegations.
17           111.    Defendant does not possess enough information to admit or deny the allegation
18    in paragraph 111 (erroneously named paragraph 106) of the Complaint and thus denies said
19    allegations.

20           112.    Defendant does not possess enough information to admit or deny the allegation
      in paragraph 112 (erroneously named paragraph 107) of the Complaint and thus denies said
21
      allegations.
22
             113.    Defendant does not possess enough information to admit or deny the allegation
23
      in paragraph 113 (erroneously named paragraph 108) of the Complaint and thus denies said
24
      allegations.
25           114.    Defendant does not possess enough information to admit or deny the allegation
26    in paragraph 114 (erroneously named paragraph 109) of the Complaint and thus denies said
27    allegations.
28



                                               Page 9 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 10 of 15



             115.    Defendant does not possess enough information to admit or deny the allegation
 1
      in paragraph 115 (erroneously named paragraph 110) of the Complaint and thus denies said
 2
      allegations.
 3
             116.    Defendant does not possess enough information to admit or deny the allegation
 4
      in paragraph 116 (erroneously named paragraph 111) of the Complaint and thus denies said
 5    allegations.
 6           117.    Defendant does not possess enough information to admit or deny the allegation
 7    in paragraph 117 (erroneously named paragraph 112) of the Complaint and thus denies said
 8    allegations.
 9           PATTERN AND PRACTICE OF REGULATION X VIOLATIONS BE SELENE

10           118.    Defendant denies the allegations in paragraph 118 (erroneously named as
      paragraph 113) of the Complaint.
11
             119.    Defendant does not possess enough information to admit or deny the allegation
12
      in paragraph 119 (erroneously named paragraph 114) of the Complaint and thus denies said
13
      allegations.
14
             120.    Defendant does not possess enough information to admit or deny the allegation
15    in paragraph 120 (erroneously named paragraph 115) of the Complaint and thus denies said
16    allegations.
17                           IMPACT AND DAMAGE TO PLAINTIFFS
18           121.    Defendant denies the allegations in paragraph 121 (erroneously named as
19    paragraph 116) of the Complaint.

20           122.    Defendant denies the allegations in paragraph 122 (erroneously named as
      paragraph 117) of the Complaint.
21
                                  Violations of 12 C.F.R. §1024.36(a)
22
                                         Qualified Written Requests
23
             123.    Paragraph 123 (erroneously named paragraph 119) does not require an admission
24
      or denial.
25           124.    Paragraph 124 (erroneously named paragraph 62) does not require an admission
26    or denial.
27           125.    Paragraph 125 (erroneously named paragraph 120) does not require an admission
28    or denial.



                                                Page 10 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 11 of 15



             126.    Paragraph 126 (erroneously named paragraph 121) does not require an admission
 1
      or denial.
 2
             127.    Defendant does not possess enough information to admit or deny the allegation
 3
      in paragraph 127 (erroneously named paragraph 122) of the Complaint and thus denies said
 4
      allegations.
 5           128.    Defendant does not possess enough information to admit or deny the allegation
 6    in paragraph 128 (erroneously named paragraph 123) of the Complaint and thus denies said
 7    allegations.
 8           129.    Defendant does not possess enough information to admit or deny the allegation
 9    in paragraph 129 (erroneously named paragraph 124) of the Complaint and thus denies said

10    allegations.
             130.    Defendant denies the allegations in paragraph 130 (erroneously named paragraph
11
      125) of the Complaint.
12
             131.    Defendant does not possess enough information to admit or deny the allegation
13
      in paragraph 131 (erroneously named paragraph 126) of the Complaint and thus denies said
14
      allegations.
15           132.    Defendant does not possess enough information to admit or deny the allegation
16    in paragraph 132 (erroneously named paragraph 127) of the Complaint and thus denies said
17    allegations.
18           133.    Defendant does not possess enough information to admit or deny the allegation
19    in paragraph 133 (erroneously named paragraph 128) of the Complaint and thus denies said

20    allegations.
             134.    Defendant denies the allegation in paragraph 134 (erroneously named paragraph
21
      129) of the Complaint.
22
             135.    Defendant denies the allegation in paragraph 135 (erroneously named paragraph
23
      130) of the Complaint.
24
             136.    Defendant denies the allegation in paragraph 136 (erroneously named paragraph
25    131) of the Complaint.
26           137.    Defendant denies the allegation in paragraph 136 (erroneously named paragraph
27    132) of the Complaint.
28



                                               Page 11 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 12 of 15



                                   Violations of 12 C.F.R. §1024.35(e)
 1
                                         Notice of Billing Error
 2
             138.    Paragraph 137 (erroneously named paragraph 133) does not require an admission
 3
      or denial.
 4
             139.    Paragraph 138 (erroneously named paragraph 134) does not require an admission
 5    or denial.
 6           140.    Paragraph 139 (erroneously named paragraph 135) does not require an admission
 7    or denial.
 8           141.    Defendant does not possess enough information to admit or deny the allegation
 9    in paragraph 141 (erroneously named paragraph 136) of the Complaint and thus denies said

10    allegations.
             142.    Defendant does not possess enough information to admit or deny the allegation
11
      in paragraph 142 (erroneously named paragraph 137) of the Complaint and thus denies said
12
      allegations.
13
             143.    Defendant does not possess enough information to admit or deny the allegation
14
      in paragraph 143 (erroneously named paragraph 138) of the Complaint and thus denies said
15    allegations.
16           144.    Defendant does not possess enough information to admit or deny the allegation
17    in paragraph 144 (erroneously named paragraph 139) of the Complaint and thus denies said
18    allegations.
19           145.    Defendant does not possess enough information to admit or deny the allegation

20    in paragraph 145 (erroneously named paragraph 140) of the Complaint and thus denies said
      allegations.
21
             146.    Defendant does not possess enough information to admit or deny the allegation
22
      in paragraph 146 (erroneously named paragraph 141) of the Complaint and thus denies said
23
      allegations.
24
             147.    Defendant denies the allegations in paragraph 147 (erroneously named paragraph
25    142) of the Complaint.
26           148.    Defendant denies the allegations in paragraph 148 (erroneously named paragraph
27    143) of the Complaint.
28



                                               Page 12 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 13 of 15



             149.   Defendant denies the allegations in paragraph 149 (erroneously named paragraph
 1
      144) of the Complaint.
 2
             150.   Defendant denies the allegations in paragraph 150 (erroneously named paragraph
 3
      145) of the Complaint.
 4
             151.   Defendant denies the allegations in paragraph 151 (erroneously named paragraph
 5    146) of the Complaint.
 6           152.   Defendant denies the allegations in paragraph 152 (erroneously named paragraph
 7    147) of the Complaint.
 8           153.   Defendant denies the allegations in paragraph 153 (erroneously named paragraph
 9    148) of the Complaint.

10           154.   Defendant denies the allegations in paragraph 154 (erroneously named paragraph
      149) of the Complaint.
11
             155.   Defendant denies the allegations in paragraph 155 (erroneously named paragraph
12
      150) of the Complaint.
13
             156.   Defendant denies the allegations in paragraph 156 (erroneously named paragraph
14
      151) of the Complaint.
15           157.   Defendant denies the allegations in paragraph 157 (erroneously named paragraph
16    152) of the Complaint.
17           158.   Defendant denies the allegations in paragraph 158 (erroneously named paragraph
18    153) of the Complaint.
19                                    AFFIRMATIVE DEFENSES

20                                 FIRST AFFIRMATIVE DEFENSE
                                         (Failure to State a Claim)
21
             Plaintiffs’ Complaint fails to state a claim against Defendant upon which relief can be
22
      granted.
23
                                 SECOND AFFIRMATIVE DEFENSE
24
                                           (Assumption of Risk)
25           Plaintiffs, at all material times, calculated, knew and understood the risks inherent in the
26    situations, actions, omissions, and transactions upon which it now bases its various claims for
27    relief, and with such knowledge, Plaintiffs undertook and thereby assumed such risks and is
28    consequently barred from all recovery by such assumption of risk.



                                                 Page 13 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 14 of 15



                                   THIRD AFFIRMATIVE DEFENSE
 1
                                            (Equitable Doctrines)
 2
              Wilmington Trust alleges that the Plaintiff’s claims are barred by the equitable doctrines
 3
      of laches, unclean hands, and failure to do equity.
 4
                                  FOURTH AFFIRMATIVE DEFENSE
 5                                         (Waiver and Estoppel)
 6            Wilmington Trust alleges that by reason of Plaintiff’s acts and omissions, Plaintiff has
 7    waived his rights and is estopped from asserting its claims against Wilmington Trust.
 8                                  FIFTH AFFIRMATIVE DEFENSE
 9                                     (Failure to Mitigate Damages)

10            Wilmington Trust alleges that the Plaintiff’s claims are barred in whole or in part
      because of the Plaintiff’s failure to take reasonable steps to mitigate the damages, if any, in this
11
      case.
12
                                        SIXTH AFFIRMATIVE DEFENSE
13
                                           (Breach of Contract/Waiver)
14
              Plaintiffs breached the terms of the contract they attempt to enforce.
15                                   SEVENTH AFFIRMATIVE DEFENSE
16                                                  (No Damage)
17            Plaintiffs have not suffered any damage.
18                                EIGHTH AFFIRMATIVE DEFENSE
19                                   (Additional Affirmative Defenses)

20            Wilmington Trust reserves the right to assert additional affirmative defenses in the event
      discovery or investigation indicate that additional affirmative defenses are applicable.
21
      ///
22
      ///
23
      ///
24
      ///
25    ///
26    ///
27    ///
28    ///



                                                 Page 14 of 15
     Case 3:19-cv-00282-MMD-CBC Document 5 Filed 06/07/19 Page 15 of 15



                                           PRAYER FOR RELIEF
 1
             Defendant prays for judgment against Plaintiff as follows:
 2
             1.     That Plaintiffs take nothing by way of their Complaint;
 3
             2.     For attorney’s fees;
 4
             3.     For costs incurred, including post-judgment costs; and
 5           4.     For further relief deemed appropriate by this Court.
 6
         Dated: June 7, 2019                      WRIGHT, FINLAY & ZAK, LLP
 7
 8                                                /s/ Christopher A. J. Swift, Esq.
                                                  Christopher Alan James Swift, Esq.
 9                                                Nevada Bar No. 11291
                                                  7785 W. Sahara Ave., Suite 200
10                                                Las Vegas, NV 89117
11                                                Attorney for Defendant Selene Finance LP

12
13
                                     CERTIFICATE OF SERVICE
14
             Pursuant to F.R.C.P. 5(b) and Electronic Filing Procedure IV(B), I certify that on the 7th
15    day of June, 2019, a true and correct copy of this ANSWER TO COMPLAINT was
16    transmitted electronically through the Court’s e-filing electronic system to the attorney(s)
17    associated with this case and/or served by depositing a true copy of same in the United States
18    Mail, at Las Vegas, Nevada, addressed as follows:
19
             Electronic notification will be sent to the following:
20            Michael C. Lehners           michaellehners@yahoo.com
21
22                                          /s/ Faith Harris
                                            An Employee of WRIGHT, FINLAY & ZAK, LLP
23
24
25
26
27
28



                                                Page 15 of 15
